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                                UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                     (JACKSONVILLE DIVISION)
                                        www.flmb.uscourts.gov

In re:                                                                    CASE NO. 3:16-BK-002232-JAF
                                                                          CHAPTER 11
PRYXIE LIQUIDATION CORP., et al. 1                                        (Jointly Administered)

          Debtors.                                      /

MARK C. HEALY of Michael Moecker &                                        ADV. NO.
Associates, Inc., Liquidating Trustee under the
Liquidating Trust Agreement formed and
Implemented pursuant to the Debtors’ confirmed
First Amended Chapter 11 Plan of Liquidation,

          Plaintiff,
v.

DAOPING BAO, MICHAEL EVANS, SID
DUTCHAK, MINGCHENG TAO, JEROME
HENSHALL, MARK BAINS, and GUO
“DAVID” DING,

          Defendants.                                   /

                        ADVERSARY COMPLAINT FOR DAMAGES AND
                        OTHER RELIEF AND DEMAND FOR JURY TRIAL

          The Plaintiff, Mark C. Healy (the “Trustee” or “Plaintiff”) of Michael Moecker &

Associates, Inc., in his capacity as Liquidating Trustee under the Liquidating Trust Agreement

formed and implemented pursuant to the First Amended Plan of Liquidation of the above captioned

Chapter 11 Debtors (collectively, the “Debtors, “Premier,” or the “Company”), files this Adversary

Complaint for Damages and Other Relief and Demand for Jury Trial against the Defendants,

Daoping Bao, Michael Evans, Sid Dutchak, Mingcheng Tao, Jerome Henshall, Mark Bains, and


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 The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
are: Pryxie Liquidation Corp. (4922); Pryxie Liquidation 1P LLC (3101); Pryxie Liquidation 2ALLC (3101); Pryxie
Liquidation 5I LLC (5075); Pryxie Liquidation 3N Inc. (9246); Pryxie Liquidation 4M LLC (3867), and Pryxie
Liquidation 6D Corp. (7309).



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Guo “David” Ding (the foregoing named defendants shall sometimes collectively be referred to

herein as the “Defendants” or the “Former D&Os”), and says:

                                     JURISDICTION & VENUE

       1.      This adversary proceeding is brought by Plaintiff against the Defendants as former

officers, directors, managers, employees, and/or de facto control persons of the Debtors, seeking

damages for breach of fiduciary duty, the avoidance and recovery of avoidable transfers, and for

other relief, resulting from bad faith acts and omissions that harmed the Debtors, their creditors,

and their shareholders.

       2.      This Court (the “Bankruptcy Court”) has jurisdiction over the subject matter of this

action pursuant to 28 U.S.C. §§ 157(b) and 1334(b).

       3.      This action alleges claims that are core proceedings pursuant to 28 U.S.C. §§

157(b)(2)(A), (E), (H), and (O), along with non-core claims.

       4.      Pursuant to Fed. R. Bankr. P. 7008, the Plaintiff consents to the entry of final orders

and judgments by the Bankruptcy Court, subject to Plaintiff’s demand for and right to a trial by

jury before the District Court as set forth below. The Plaintiff does not consent to a jury trial by

the Bankruptcy Court.

       5.      Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409(a), as this

adversary proceeding arises under title 11 or arises under or relates to cases under title 11 of the

United States Code (the “Bankruptcy Code”), which are pending in this district.

                                THE PARTIES TO THIS ACTION

                                              The Plaintiff

       6.      Premier Exhibitions, Inc. n/k/a Pryxie Liquidation Corp. (the “Company” or

“Premier Exhibitions”) was a former NASDAQ publicly traded parent holding company that


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owned and operated a family of subsidiaries and affiliates that collectively provided museum-

quality touring exhibitions world-wide, including artifacts recovered from the infamous RMS

Titanic shipwreck.

       7.       On June 14, 2016 (the “Petition Date”), Premier Exhibitions, along with its various

affiliated debtor subsidiaries and affiliates, filed voluntary Chapter 11 bankruptcies before this

Court [Main Case ECF No. 1].

       8.       By Order dated October 16, 2019, the Bankruptcy Court approved confirmation of

the Debtors’ First Amended Plan of Liquidation (the “Plan”) [ECF No. 231], which appointed Mr.

Healy as Liquidating Trustee under the Liquidating Trustee Agreement formed and implemented

under the confirmed Plan, and who is now the duly appointed and acting fiduciary with standing

to prosecute the claims that are the subject of this action.

       9.       By Notice of Effective Date dated November 6, 2019, the Debtors advised the

Court, creditors, interest holders, and other parties in interest that on October 31, 2019, the

Effective Date of the Plan occurred, and that all conditions precedent to the effectiveness of the

Plan as set forth in Article 13 therein have either been satisfied or waived in accordance with the

Plan and Confirmation Order.

       10.      By Notice of Name Change dated November 6, 2019 [ECF No. 247], the Debtors

disclosed the following name changes:

                      Old Name (f/k/a)                                    New Name

                 Premier Exhibitions, Inc.                         Pryxie Liquidation Corp.

         Premier Exhibitions Management, LLC                     Pryxie Liquidation 1P LLC

         Premier Exhibitions International, LLC                   Pryxie Liquidation 5I LLC

              Premier Exhibitions NYC, Inc.                      Pryxie Liquidation 3N Inc.

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                      Old Name (f/k/a)                                    New Name

               Premier Merchandising, LLC                        Pryxie Liquidation 4M LLC

                Dinosaurs Unearthed Corp.                       Pryxie Liquidation 6D Corp.

         Arts and Exhibitions International, LLC                 Pryxie Liquidation 2A LLC


                                             The Defendants

        11.     The following named parties are Defendants to this action:

                a.       Defendant DAOPING BAO (“Bao”) is an individual that from and after

November 2, 2015, was a member of the board of directors, the Executive Chairman of the Board,

President, and Chief Executive Officer of the Company. At all times material hereto, Bao was

acting within the scope of his duties as an officer, director, and Chairman of the Board of the

Company and, in so doing, he had or should have had intimate knowledge and understanding of,

and was materially involved in and with, all material financial, operational, regulatory, accounting,

and/or business related affairs and functions of the Debtors.

                b.       Defendant MICHAEL EVANS (“Evans”) is an individual that from and

after November 2, 2015, was a member of the board of directors of the Company until he submitted

his resignation on June 13, 2016. At all times material hereto, Evans was acting within the scope

of his duties as a director of the Company and, in so doing, he had or should have had intimate

knowledge and understanding of, and was materially involved in and with, all material financial,

operational, regulatory, accounting, and/or business related affairs and functions of the Debtors.

                c.       Defendant SID DUTCHAK (“Dutchak”) is an individual that from and after

November 2, 2015, was a member of the board of directors of the Company through and

subsequent to the Petition Date. At all times material hereto, Dutchak was acting within the scope

of his duties as a director of the Company and, in so doing, he had or should have had intimate
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knowledge and understanding of, and was materially involved in and with, all material financial,

operational, regulatory, accounting, and/or business related affairs and functions of the Debtors.

                d.       Defendant MINGCHENG TAO (“Tao”) is an individual that from and after

November 2, 2015, was a member of the board of directors of the Company until his resignation

on July 21, 2016. At all times material hereto, Tao was acting within the scope of his duties as a

director of the Company and, in so doing, he had or should have had intimate knowledge and

understanding of, and was materially involved in and with, all material financial, operational,

regulatory, accounting, and/or business related affairs and functions of the Debtors.

                e.       Defendant JEROME HENSHALL (“Henshall”) is an individual that from

and after June 17, 2016, was a member of the board of directors of the Company and was also

appointed as Chair of the Audit Committee of the Board and was qualified as an Audit Committee

financial expert. In addition, on July 21, 2016, he was appointed as Chief Financial Officer. At all

times material hereto, Henshall was acting within the scope of his duties as a director, officer,

and/or Chair of the Audit Committee of the Company and, in so doing, he had or should have had

intimate knowledge and understanding of, and was materially involved in and with, all material

financial, operational, regulatory, accounting, and/or business related affairs and functions of the

Debtors.

                f.       Defendant MARK BAINS (“Bains”) is an individual that from and after

July 22, 2016, was a member of the board of directors of the Company. At all times material hereto,

Bains was acting within the scope of his duties as a director of the Company and, in so doing, he

had or should have had intimate knowledge and understanding of, and was materially involved in

and with, all material financial, operational, regulatory, accounting, and/or business related affairs

and functions of the Debtors.


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                 g.       Defendant GUO “DAVID” DING (“Ding”) is an individual that from and

after July 22, 2016, was a member of the board of directors of the Company. At all times material

hereto, Ding was acting within the scope of his duties as a director of the Company and, in so

doing, he had or should have had intimate knowledge and understanding of, and was materially

involved in and with, all material financial, operational, regulatory, accounting, and/or business

related affairs and functions of the Debtors.

                          MATERIAL NON-PARTIES TO THIS ACTION

        12.      The material non-parties to this action referenced in this Complaint are:

                 a.       Dinoking Tech Inc. (“DinoKing”) is a British Columbia, Canada holding

company that operated under the name Dinosaurs Unearthed which, at all times material hereto,

was owned and controlled by Defendant Bao. Prior to the Petition Date, DinoKing touted itself as

an industry-leading traveling exhibition company with a range of exhibition products designed and

developed by “its creative and innovative team of experts and scientific advisors.” 2 In a press

release dated November 2, 2015, Premier Exhibitions and DinoKing announced a merger of the

two companies:

                 Premier Exhibitions, Inc. (NASDAQ: PRXI) (“Premier”) a leading
                 presenter of museum-quality touring exhibitions around the world,
                 announced that on November 1, 2015, it acquired the outstanding shares of
                 Dinoking Tech Inc. (“Dinoking”) through the issuance of Premier shares
                 and shares exchangeable for Premier shares. Premier previously announced
                 that its shareholders voted in favor of the transaction on October 29, 2015.
                 On November 1, 2015, Premier executed all agreements necessary to close
                 on its acquisition of the Dinoking shares effective that date.

                 On November 2, 2015, pursuant to the Merger Agreement, Premier’s board
                 of directors appointed Mr. Daoping Bao as the Executive Chairman of the

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   According to DinoKing, its exhibition products included Dinosaurs Unearthed, Dinosaurs Alive!, Extreme
Dinosaurs, Xtreme BUGS!, and Creatures of the Deep that created “outstanding immersive guest experiences that are
engaging, entertaining and grounded in current science.” Since its launch in 2007, DinoKing claims to have opened
exhibitions throughout North America, Australia, Asia, Europe and the Middle East, “inspiring millions of guests in
museums, science centers, zoos, amusement parks and other unique venues.”
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               Board, President and Chief Executive Officer of Premier, and each
               subsidiary of the company, as of the closing of the merger of Premier and
               Dinoking. Michael Little, who had served as Premier’s Interim Chief
               Executive Officer, will continue to serve as Premier's Chief Financial
               Officer and Chief Operating Officer.

               In addition, on November 2, 2015, the board of directors increased its size
               to seven and appointed four new directors to the board – Daoping Bao,
               Premier's new Chief Executive Officer, Michael Evans, a principal at Evans
               & Evans, an international investment banking firm, Sid Dutchak, Calgary
               based businessman with a background in corporate restructuring and public
               company management, and Mingcheng Tao, former Chief Executive
               Officer and director of BesTV Network Television Technology
               Development Co., Ltd.

                     INTRODUCTION & PRELIMINARY STATEMENT

       13.     For over a decade, Premier Exhibitions and its affiliated Debtors collectively

engaged in the business of developing, deploying, and operating “unique” exhibition products

presented to the public in exhibition centers, museums, and non-traditional venues. Income from

the exhibitions was generated primarily through ticket sales, third-party licensing, sponsorships,

and merchandise sales.

       14.     The Company initially became renowned for its Titanic exhibitions that presented

the story of the ill-fated ocean liner RMS Titanic which, according to Premier Exhibitions:

               captivated the imaginations of millions of people throughout the world since
               1912 when on her maiden voyage she struck an iceberg and sank in the
               North Atlantic approximately 400 miles off the coast of Newfoundland,
               Canada. More than 1,500 of the 2,228 lives on board the Titanic were lost.

       15.     Prior to the Petition Date, the Debtors were offering the following exhibitions:

                 •   Titanic: The Artifact Exhibition
                 •   Titanic: The Experience
                 •   Bodies . . . The “Exhibition” and “Bodies Revealed”
                 •   The Discovery of King Tut
                 •   Saturday Night Live: The Exhibition
                 •   Real Pirates


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        16.     The Debtors’ gross revenues on an unaudited basis were approximately

$25,000,000 to $30,000,000 per year. From January 1, 2016 to March 31, 2016, they generated

approximately $6,300,000 in unaudited gross revenues.

        17.     As of June 9, 2016, there were 65,000,000 shares of Premier common stock,

$.0001 par value authorized, of which 7,938,396 shares were issued, of which 7,938,195 were

outstanding.

        18.     During the several months leading up to the Petition Date, the Debtors, as a direct

result of the acts and omissions of management, faced mounting legal challenges, including

multiple lawsuits.

        19.     In their Case Management Summary filed with the Bankruptcy Court, the Debtors

disclosed assets totaling approximately $36,000,000, with liabilities of approximately $3,000,000

owed to secured creditors, and $12,000,000 owed to general unsecured creditors, primarily

consisting of third-party vendors.

        20.     Per the proof of claim register on file with the Clerk of the Court, in excess of $35

million of claims have been filed against the estates of the Debtors, with no remaining hard assets

to liquidate or cash to distribute to creditors or shareholders. These liabilities exist and/or remain

unpaid, and are the direct result of the acts and omissions of the Defendants herein.

        21.     From and after November 2, 2015, Bao, lacking good faith, breached and/or

abdicated his fiduciary duties of loyalty, care, and good faith to the Company and its creditors and

shareholders by, among other acts and omissions: (i) engaging in action or inaction in furtherance

of the interests of insiders and/or others, rather than in the best interests of the Debtors; (ii)

engaging in action or inaction that was designed to, and did, decrease the Debtors’ enterprise value

and liquidation value for the benefit of the interests of insiders and/or others, rather than in the best


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interests of the Debtors; (iii) failing to act to ensure adequate capitalization of the Debtors, failing

to consider options and alternatives to effectuate same, and otherwise failing to act to maximize

the Debtors’ enterprise value and liquidation value; and (iv) secretly participating in, and engaging

in conduct which was designed to, and did, reduce the purchase price of the sale of the Company’s

business assets (the “Business Assets”) in the Company’s bankruptcy case. These breaches caused

substantial damage and harm to the Company, its creditors, and its shareholders.

        22.     From and after November 2, 2015, Evans, Dutchak, Tao, Henshall, Bains, and

Ding, lacking good faith, breached and/or abdicated their fiduciary duties of loyalty and care by,

among other acts and omissions: (i) failing to fully or adequately monitor and oversee Bao and the

Company; (ii) failing to implement adequate safeguards and controls necessary and appropriate for

the Company’s post-DinoKing transaction financial, operational, regulatory, accounting, and/or

business related affairs and functions; (iii) engaging in action or inaction, or otherwise allowing

Bao to engage in action or inaction, in furtherance of the interests of insiders and/or others, rather

than in the best interests of the Debtors; (iv) allowing or otherwise failing to prevent the decrease

of the Debtors’ enterprise value and liquidation value in furtherance of the interests of insiders

and/or others, rather than in the best interests of the Debtors; (v) post-DinoKing transaction, failing

to properly monitor and oversee Bao and the Company, and failing to implement or follow

adequate safeguards and controls to ensure adequate capitalization of the Debtors, adequate

consideration of options and alternatives to effectuate same, and maximization of the Debtors’

enterprise value and liquidation value; and (vi) failing to properly monitor and oversee Bao, and

failing to implement and follow adequate safeguards and controls, to prevent Bao from secretly

participating in, and engaging in conduct which was designed to, and did, reduce the purchase price




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of the sale of the Company’s Business Assets in the Company’s bankruptcy case. These breaches

caused substantial damage and harm to the Company, its creditors, and its shareholders.

       23.     In so doing, from and after November 2, 2015, Evans, Dutchak, Tao, Henshall,

Bains, and Ding utterly failed to implement reporting information systems or controls or, having

implemented any such systems or controls, consciously failed to monitor or oversee Bao and the

Company’s operations, thereby disabling themselves from being informed of material risks and

problems requiring their attention. These breaches caused substantial damage and harm to the

Company, its creditors, and its shareholders.

       24.     As a result of the Defendants’ acts and omissions described herein, the Company,

its creditors, and its shareholders sustained damages, and any all claims the Defendants have or

may attempt to assert against the bankruptcy estates of the Company or any of its subsidiaries

should be disallowed in full and/or equitably subordinated.

                              FACTS SUPPORTING THE CLAIMS

       A.      Premier Exhibitions’ Merger with DinoKing

       25.     On November 1, 2015, DinoKing, which was managed by Bao, and Premier

Exhibitions closed on a merger of the two companies.

       26.     PacBridge Capital Partners (HK) Ltd. (“PacBridge”) served as DinoKing’s

financial advisor in connection with this merger.

       27.     After the merger closed on November 1, 2015, Bao, Evans, Dutchak, and Tao

joined the board effective November 2, 2015.




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        B.      Bao, Evans, Dutchak, and Tao: (i) Fail to Ensure Adequate Capitalization,
                (ii) Fail to Fully and Properly Consider Options and Alternatives, and
                (iii)Fail to Maximize Debtors’ Enterprise Value and Liquidation Value

        28.     From and after November 2, 2015, Bao, lacking good faith, and in breach and/or

abdication of his fiduciary duties, failed to act to ensure adequate capitalization of the Debtors,

failed to fully and properly consider options and alternatives to effectuate same, and otherwise

failed to act to maximize the Debtors’ enterprise value and liquidation value.

        29.     In fact, as described in more detail below, Bao secretly participated in, and engaged

in conduct which was designed to, and did, reduce the enterprise value, liquidation value, and

Business Assets value of the Debtors so that an insider entity could purchase the Business Assets

at a substantially decreased price, in furtherance of the interests of insiders and/or others to the

severe detriment of the Debtors, its creditors, and its shareholders.

        30.     From and after November 2, 2015, Evans, Dutchak, and Tao, meanwhile, lacking

good faith, and in breach and/or abdication of their fiduciary duties, allowed or otherwise failed to

prevent inadequate capitalization of the Debtors, failed to properly consider other options and

alternatives , and permitted the decrease of the Debtors’ enterprise value, liquidation value, and

Business Assets value, in furtherance of the interests of insiders and/or others, rather than in the best

interests of the Debtors, by either actively acting in furtherance of such insider interests rather than

the interests of the Debtors or by completely failing to fully or properly monitor and oversee Bao, and

implement and follow adequate safeguards and controls, to prevent Bao from secretly participating

in, and engaging in conduct which was designed to, and did, reduce the enterprise value, liquidation

value, and Business Assets value of the Debtors so that an insider entity could purchase the

Business Assets at a substantially decreased price.




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         C.       The Debtors File Bankruptcy and Sell the Titantic Artifacts at a Substantially
                  Decreased Price to Bao’s Insider

         31.      On June 14, 2016 (the “Petition Date”), Premier and its affiliated Debtors filed

voluntary petitions in this Court for relief under Chapter 11 of the Bankruptcy Code.

         32.      On, around, and subsequent to the Petition Date, the composition of the Board was

modified as follows: (i) Evans resigned effective June 13, 2016; (ii) Tao resigned effective July

21, 2016; (iii) Henshall joined the Board and was appointed as Chair of the Audit Committee

effective June 17, 2016, and was also appointed Chief Financial Officer effective July 21, 2016;

(iv) Bains joined the Board effective July 22, 2016, and (v) Ding joined the Board effective July

22, 2016.

         33.      Six days after the Petition Date, Premier Exhibitions moved for an order authorizing it

to market and sell certain of its artifacts that had been salvaged from the Titanic wreck site

(collectively, the “Artifacts”). [See Main Case ECF No. 28.]

         34.      As is reflected in the motion, an appraiser valued the Artifacts at over

approximately $189,000,000.00 in 2007 and at approximately $218,000,000.00 in 2014. [See id.

at ¶22.]

         35.      As is further reflected in the motion, a sale of just a small subset of the Artifacts

would have enabled the Company to pay all of its creditors in full and allowed its common

shareholders to retain their equity positions as the Company emerged from bankruptcy. [See id. at

¶27.]

         36.      Moreover, on June 15, 2018, the Debtors sought approval of, among other things,

certain procedures related to the Business Assets in which they acknowledged that a subset of the

Artifacts known as the “French Artifacts” were not subject to any sale restrictions. [Main Case

ECF No. 1055, ¶11.]
                                                        12


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        37.      Similarly, the Company moved for the Court’s approval of sale procedures that

“incorporate[d] the ability for interested purchasers to submit partial bids for less than all assets”

of the Company. [Main Case ECF No. 811, ¶6.]

        38.     However, the Company did not solicit bids for certain Artifacts, and no Artifacts

were ever sold, despite the fact that the proceeds from the sale of just a small portion of the

Artifacts could have prevented the Company’s creditors from being harmed, and shareholders

losing their investments.

        39.     Instead, the Company solicited PacBridge for an offer to purchase the Business

Assets as a whole.

        40.     Upon information and belief, PacBridge was solicited because Bao, who was a

director, CEO, and shareholder of the Company, sought to benefit an insider entity by allowing

such insider to purchase the Business Assets at a substantially decreased price to the detriment of

the Company and its stakeholders.

        41.     In fact, under the initial term sheets submitted by PacBridge, PacBridge would have

acquired the Business Assets for an amount between $50,000,000.00 and $65,000,000.00, less than

a third of the value of the Artifacts alone.

        42.     Moreover, upon information and belief, Bao secretly advised and provided inside

information to PacBridge, which caused PacBridge to reduce the amount it was willing to pay for

the Business Assets from over $50,000,000.00 to $30,000,000.00.

        43.     Upon the Equity Committee’s objection, PacBridge ceased its efforts to close on a

purchase of the Business Assets, but only for a brief period.




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          44.     By October 2018, PacBridge had linked up with a group of Chinese investors,

formed Premier Acquisition Holdings LLC (“Premier Holdings”), and offered to purchase the

Business Assets for a mere $19,500,000.00.

          45.     These Chinese investors were insiders of Bao, and consisted of a former business

partner of Bao’s, a friend of Bao’s, and a relative of Bao’s.

          46.     In furtherance of the interests of Bao’s insider Premier Holdings, and to the

detriment of the Debtors, Premier Exhibition’s board of directors, which included Dutchak,

Henshall, Bains, and Ding, approved or otherwise allowed the sale of the Business Assets to insider

Premier Holdings at the substantially reduced price of $19,500,000.00, which resulted in

substantial damage to the Company, its creditors, and other stakeholders, including a total loss of

the investments held by the Company’s shareholders.

          47.     The price per share of Premier Exhibitions’ stock was approximately $1.18 on

November 4, 2015, and, according to Premier Exhibitions’ last 10-Q, Premier Exhibitions had

4,917,222 outstanding shares on October 13, 2015, before the DinoKing merger.

          48.     As these figures reflect, the Company’s shareholders alone lost millions of dollars

as a direct and proximate result of the Defendants’ wrongful action and inaction.

          D.      The Debtors’ Pre-Petition Insolvency

          49.     From and after November 2, 2015, through and including the Petition Date, the

Debtors were insolvent and/or intended to incur or believed they would incur debts that would be

beyond their ability to pay as such debts became due or matured.

          50.     Thus, the Defendants each owed fiduciary duties to the Debtors and their non-

insider creditors and shareholders during all times material to the claims asserted against them

herein.

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       E.      The Company Suffers Substantial Damage and Harm as the Direct Result of
               the Acts and Omissions of the Defendants

       51.     Subsequent to the November 1, 2015 DinoKing transaction, the Debtors sustained

substantial damage and harm in the form of, among other things, a decrease in Premier’s share price,

enterprise value, and liquidation value as a direct result of the post- November 2, 2015 acts and

omissions of Bao, Evans, Dutchak, Tao, Henshall, Bains, and Ding.

       52.     Per the proof of claim registers maintained by the Clerk of the Court, over $35

million of claims have been filed and are pending against the Debtors’ estates.

       53.     As a direct and proximate result of the Defendants’ acts and omissions, the Debtors

have suffered damages that include, but that are not necessarily limited to: (i) the decrease in

Debtors’ enterprise value subsequent to November 2, 2015; (ii) the decrease in Debtors’

liquidation value subsequent to November 2, 2015; (iii) the decrease in Debtors’ Business Assets

value subsequent to November 2, 2015; (iv) the decrease in Debtors’ market capitalization

subsequent to November 2, 2015; (v) the decrease in Debtors’ shareholder value subsequent to

November 2, 2015; (vi) the difference between the price PacBridge initially indicated it was

willing to pay for the Business Assets (i.e., between $50,000,000.00 and $65,000,000.00) and the

price that Premier Holdings ultimately agreed to pay for the Business Assets (i.e., $19,500,000.00);

(vii) the loss and/or depletion of material assets of the Debtors subsequent to November 2, 2015;

(viii) the increase in the Debtors’ liabilities subsequent to November 2, 2015; (ix) the Debtors’

deepening and/or increased insolvency subsequent to November 2, 2015, as evidenced by, among

other things, claims filed and pending against the Debtors’ bankruptcy estates; (x) corporate waste

subsequent to November 2, 2015; (xi) the Debtors’ bankruptcy and associated administrative fees

and expenses; (xii) the value of all avoidable transfers subsequent to November 2, 2015 pursuant

to Chapter 5 of the Bankruptcy Code and/or under applicable state law, including all transfers to
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the Defendants and other insiders subsequent to November 2, 2015; and (xiii) other damages as may

be ascertained through pre- or post-suit discovery, plus pre-judgment and post-judgment interest,

and costs.

       F.       Conditions Precedent

       54.      All conditions precedent to the filing of this action have been waived, satisfied,

excused, performed, or have occurred.

                                         COUNT I
                                 BREACH OF FIDUCIARY DUTY
                                  AGAINST DEFENDANT BAO

       55.      The Plaintiff sues Defendant Bao and alleges:

       56.      The Plaintiff re-alleges paragraphs 1 through 54 above.

       57.      This is a claim by the Plaintiff for breach of fiduciary duty against Bao based upon

his acts and omissions as an officer and director of the Company.

       58.      As an officer and director of Premier, from and after November 2, 2015, Bao owed

Premier Exhibitions a fiduciary duty to discharge his duties in good faith, with the care an

ordinarily prudent officer or director in a like position would exercise and in a manner reasonably

believed to be in the best interests of Premier Exhibitions.

       59.      Specifically, the duties of care, loyalty, and good faith under Florida law required

Bao to put the interests of Premier Exhibitions above his own interests and those of others, and

was not limited to the avoidance of disloyalty in the classic sense, i.e. self-dealing, personal gain,

or a cognizable conflict of interest. In addition, in discharging his duties of care and loyalty, Bao

was required to act in good faith, and would be in breach of the duties of care, loyalty, and good

faith by acting with a purpose other than that of advancing the best interests of Premier Exhibitions,

by acting in violation of applicable positive law, or by failing to act in the face of a known duty to


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act, thereby demonstrating a conscious disregard for his responsibilities. Bao was also required to

ensure that he did not display a lack of diligence that was more culpable than simple inattention or

failure to be informed of all facts material to his decisions, such that it was qualitatively more

culpable than gross negligence.

       60.      Additionally, the duty to exercise due care under Florida law required Bao to use

that amount of care which ordinarily careful and prudent individuals would use in similar

circumstances and to consider all material information reasonably available. In exercising the duty

of due care, Bao could not engage in acts or omissions on behalf of Premier Exhibitions that resulted

in a loss to such entity arising from decisions that: (i) were ill-advised, uninformed or that failed

to consider material information; (ii) constituted an unconsidered failure of Bao to act in

circumstances in which due attention would, arguably, have prevented the loss; (iii) were based

upon an unintelligent or unadvised judgment; (iv) were grossly negligent, such as engaging in an

irrational decision making process signifying more than ordinary inadvertence or inattention; or

(v) resulted in a corporate strategy that reflected an indifference to the potential risk of harm to

Premier Exhibitions, such that reasonable businesspersons would have carefully considered the

obvious negative consequences. Moreover, under Florida law, the more significant the subject

matter of the decision, the greater is the requirement to probe and consider alternatives. To further

satisfy the duty of due care, a reasonable and informed deliberative process was required by

attending meetings, asking questions, reviewing written materials, and otherwise becoming

informed of relevant information reasonably available, and to seek the input of experts, such as

investment bankers, attorneys, and accountants, and to provide materially accurate information.

       61.      Furthermore, while Florida law provides that a Florida corporation may eliminate

or limit the personal liability of a director to the corporation or its stockholders for monetary


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damages for breach of fiduciary duty as a director, Bao’s liability could not be limited under such

statute, to the extent applicable: (i) for any breach of duty of loyalty to the corporation or its

stockholders; (ii) for acts or omissions not in good faith or which involve intentional misconduct,

a conscious disregard for the best interests of the corporation and/or known or obvious risks, or a

knowing violation of law; or (iii) for any transaction from which Bao derived an improper personal

benefit. However, this exculpatory provision is not applicable to Bao’s acts and omissions as an

officer. Finally, Bao could not act loyally towards Premier Exhibitions unless he acted in the good

faith belief that his actions were in the corporation’s best interest.

        62.     In regard to the facts alleged above, and lacking good faith, Bao exhibited a

knowing, conscious, grossly negligent or reckless disregard for the best interests of Premier

Exhibitions and, except for his knowing, conscious, grossly negligent or reckless disregard of the

facts, should have known of the risk of damage that ultimately befell Premier Exhibitions.

        63.     Specifically, Bao actively engaged in breaches of fiduciary duties and otherwise

abdicated his fiduciary duties of loyalty, good faith, and due care owed to Premier Exhibitions,

with breaches that include, but that may not necessarily be limited to, the following: (i) engaging

in action or inaction in furtherance of the interests of insiders and/or others, rather than in the best

interests of the Debtors; (ii) acting or failing to act in a manner designed to, and which did, decrease

the Debtors’ enterprise value and liquidation value in furtherance of the interests of insiders and/or

others, rather than in the best interests of the Debtors; (iii) failing to act to ensure adequate

capitalization of the Debtors, failing to consider options and alternatives to effectuate same, and

otherwise failing to act to maximize the Debtors’ enterprise value and liquidation value; (iv)

secretly participating in, and engaging in conduct which was designed to, and did, reduce the

purchase price of the sale of Premier Exhibition’s Business Assets; (v) failing to cause or require the


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implementation of or failing to follow adequate safeguards and controls in regard to material

business, operational, regulatory, and financial functions; (vi) failing to prepare and provide

materially accurate information that would have caused or otherwise enabled a reasonably

informed analysis and decision-making process to, among other things, implement a wind down

process to maximize value to Premier Exhibitions prior to the Petition Date; (vii) failing to fully or

adequately inform himself in regard to material business, operational, regulatory and/or financial

decisions or functions affecting Premier Exhibitions; and (viii) other breaches and proximately

caused damages as may be ascertained through discovery.

       64.      Each of the above breaches adversely impacted and conferred no benefit to Premier

Exhibitions, and as a direct and proximate result of same, caused damage to Premier Exhibitions

consisting of, inter alia: (i) the decrease in Debtors’ enterprise value subsequent to November 2,

2015; (ii) the decrease in Debtors’ liquidation value subsequent to November 2, 2015; (iii) the

decrease in Debtors’ Business Assets value subsequent to November 2, 2015; (iv) the decrease in

Debtors’ market capitalization subsequent to November 2, 2015; (v) the decrease in Debtors’

shareholder value subsequent to November 2, 2015; (vi) the difference, at a minimum, between

the price PacBridge initially indicated it was willing to pay for the Business Assets (i.e.,

between $50,000,000.00 and $65,000,000.00) and the price that Premier Holdings ultimately

agreed to pay for the Business Assets (i.e., $19,500,000.00); (vii) the loss and/or depletion of

material assets of the Debtors subsequent to November 2, 2015; (viii) the increase in the Debtors’

liabilities subsequent to November 2, 2015; (ix) the Debtors’ deepening and/or increased

insolvency subsequent to November 2, 2015, as evidenced by, among other things, claims filed

and pending against the Debtors’ bankruptcy estates; (x) corporate waste subsequent to November

2, 2015; (xi) the Debtors’ bankruptcy and associated administrative fees and expenses; (xii) the


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value of all avoidable transfers subsequent to November 2, 2015 pursuant to Chapter 5 of the

Bankruptcy Code and/or under applicable state law, including all transfers to the Defendants and

other insiders subsequent to November 2, 2015; and (xiii) other damages as may be ascertained

through pre- or post-suit discovery, plus pre- judgment and post-judgment interest, and costs.

       65.     Bao is liable for these damages.

       WHEREFORE, the Plaintiff demands the entry of judgment against Bao for compensatory

damages, consequential damages, special damages and punitive damages including, but not limited

to: (i) the decrease in Debtors’ enterprise value subsequent to November 2, 2015; (ii) the decrease

in Debtors’ liquidation value subsequent to November 2, 2015; (iii) the decrease in Debtors’

Business Assets value subsequent to November 2, 2015; (iv) the decrease in Debtors’ market

capitalization subsequent to November 2, 2015; (v) the decrease in Debtors’ shareholder value

subsequent to November 2, 2015; (vi) the difference, at a minimum, between the price PacBridge

initially indicated it was willing to pay for the Business Assets (i.e., between $50,000,000.00 and

$65,000,000.00) and the price that Premier Holdings ultimately agreed to pay for the Business

Assets (i.e., $19,500,000.00); (vii) the loss and/or depletion of material assets of the Debtors

subsequent to November 2, 2015; (viii) the increase in the Debtors’ liabilities subsequent to

November 2, 2015; (ix) the Debtors’ deepening and/or increased insolvency subsequent to

November 2, 2015, as evidenced by, among other things, claims filed and pending against the

Debtors’ bankruptcy estates; (x) corporate waste subsequent to November 2, 2015; (xi) the

Debtors’ bankruptcy and associated administrative fees and expenses; (xii) the value of all

avoidable transfers subsequent to November 2, 2015 pursuant to Chapter 5 of the Bankruptcy Code

and/or under applicable state law, including all transfers to the Defendants and other insiders




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subsequent to November 2, 2015; and (xiii) other damages as may be ascertained through pre- or

post-suit discovery, plus pre-judgment and post-judgment interest, attorneys’ fees, and costs.

                                          COUNT II
                  BREACH OF FIDUCIARY DUTY AGAINST DEFENDANTS
                  EVANS, DUTCHAK, TAO, HENSHALL, BAINS, AND DING
                (Incudes a Caremark3 Claim for Breach of Duty of Good Faith and
                      Loyalty under Florida and/or Other Applicable Law
                          for Complete Abdication of Oversight Duties)

         66.      The Plaintiff sues Defendants Evans, Dutchak, Tao, Henshall, Bains, and Ding, and

alleges:

         67.      The Plaintiff re-alleges paragraphs 1 through 54 above.

         68.      This is a claim by the Plaintiff for breach of fiduciary duty against Defendants

Evans, Dutchak, Tao, Henshall, Bains, and Ding based upon their acts and omissions as directors

and/or officers of Premier Exhibitions during all or certain times material hereto from and after

November 2, 2015.

         69.      As directors and/or officers of Premier Exhibitions, during all or certain times

material hereto from and after November 2, 2015, Evans, Dutchak, Tao, Henshall, Bains, and Ding

owed Premier Exhibitions a fiduciary duty to discharge their duties in good faith, with the care an

ordinarily prudent officer or director in a like position would exercise and in a manner reasonably

believed to be in the best interests of Premier.




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  The Caremark case sets forth the legal standard and elements necessary to state a claim for breach of the duty of
good faith and loyalty as a result of the failure of officers or directors to cause the implementation of adequate systems,
or to employ adequate monitoring and oversight, so as to ensure that sufficient and accurate information is available
to allow the management to reach informed judgments concerning a corporation’s compliance with law and its
business performance. In re Caremark International Inc. Derivative Litigation, 698 A.2d 959 (Del. Ch.1996); accord
Stone v. Ritter, 911 A.2d 362, 369-70 (Del. 2006). Even though Florida law governs this claim, Delaware law is still
relevant because “[t]he Florida courts have relied upon Delaware corporate law to establish their own corporate
doctrines.” Connolly v. Agostino’s Ristorante, Inc., 775 So.2d 387, 388 n.1 (Fla. 2d DCA 2000) (citing Int’l Ins. Co.
v. Johns, 874 F.2d 1447, 1459 n. 22 (11th Cir. 1989)).
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       70.      During all or certain times material hereto from and after November 2, 2015, Evans,

Dutchak, Tao, Henshall, Bains, and Ding were directors and/or officers of Premier and, as such,

owed such entity a fiduciary duty to discharge their duties in good faith, with the care an ordinarily

prudent director or officer in a like position would exercise and in a manner reasonably believed

to be in the best interests of Premier.

       71.      Specifically, the duties of care, loyalty, and good faith under Florida law required

Evans, Dutchak, Tao, Henshall, Bains, and Ding to put the interests of Premier Exhibitions above

their own interests and those of insiders and others, and was not limited to disloyalty in the classic

sense, i.e. self- dealing, personal gain, or a cognizable conflict of interest. In addition, in

discharging their duties of care and loyalty, Evans, Dutchak, Tao, Henshall, Bains, and Ding were

required to act in good faith, and would be in breach of the such duties by acting with a purpose

other than that of advancing the best interests of Premier Exhibitions, by acting in violation of

applicable positive law, or by failing to act in the face of a known duty to act, thereby

demonstrating a conscious disregard for their responsibilities and the best interests of Premier

Exhibitions. Evans, Dutchak, Tao, Henshall, Bains, and Ding were also required to ensure that they

did not display a lack of diligence that was more culpable than simple inattention or failure to be

informed of all facts material to their decisions, such that it was qualitatively more culpable than

gross negligence.

       72.      Further, in discharging their duties of care, loyalty, and good faith, directors are

required to monitor operations, and the failure to do so results in liability premised upon

“unconsidered inaction,” as opposed to an affirmative board decision to act or not act. The duty to

monitor includes the board’s ability to assure itself that information and reporting systems exist in

the organization that are reasonably designed to provide to senior management and to the board


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itself timely, accurate information sufficient to allow management and the board, each within its

scope, to reach informed judgments concerning both the corporation’s compliance with law and

its business performance. A sustained or systematic failure of the board to exercise oversight –

such as an utter failure to attempt to assure that a reasonable information and reporting system

exists – will constitute a lack of good faith establishing liability. Thus, “oversight” liability is

characterized by a lack of good faith.

       73.      Moreover, directors appointed to and holding audit committee, executive

committee, or other specialized committee positions have heightened duties. For example,

shareholders rely on audit committees to execute their oversight duties while keeping up with an

increasingly complex financial reporting environment and an ever-changing regulatory landscape.

Thus, setting the appropriate tone is critical for committees and boards as a whole.

       74.      Oversight liability is established where: (a) the directors utterly failed to implement

any reporting or information system or controls; or (b) having implemented such a system or

controls, the directors consciously failed to monitor or oversee its operations thus disabling

themselves from being informed of risks or problems requiring their attention. In either case,

liability may be imposed where the directors knew that they were not discharging their fiduciary

obligations. Where directors fail to act in the face of a known duty to act, thereby demonstrating a

conscious disregard for their responsibilities, they breach their duty of loyalty by failing to

discharge that fiduciary obligation in good faith.

       75.      In addition, while Florida law provides that a Florida corporation may eliminate or

limit the personal liability of a director to the corporation or its stockholders for monetary damages

for breach of fiduciary duty as a director, Evans, Dutchak, Tao, Henshall, Bains, and Ding’s

liability could not be limited under such statute, to the extent applicable: (i) for any breach of duty


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of loyalty to the corporation or its stockholders; (ii) for acts or omissions not in good faith or which

involve intentional misconduct or a knowing violation of law; or (iii) for any transaction from

which they derived an improper personal benefit, thereby rendering the business judgment rule

inapplicable. However, this exculpatory provision is not applicable to Evans’, Dutchak’s, Tao’s,

Henshall’s, Bains’, and Ding’s acts and omissions as officers. Finally, Evans, Dutchak, Tao,

Henshall, Bains, and Ding could not act loyally towards Premier Exhibitions unless they acted in

the good faith belief that their actions were in the corporation’s best interest.

        76.     In regard to the facts alleged above, from and after November 2, 2015, Evans,

Dutchak, Tao, Henshall, Bains, and Ding exhibited a knowing, conscious, grossly negligent and

reckless disregard for the best interests of Premier Exhibitions and, except for their knowing,

conscious, grossly negligent and reckless disregard of the facts, they should have known of the risk

of damage that ultimately befell Premier Exhibitions.

        77.     Specifically, from and after November 2, 2015, Evans, Dutchak, Tao, Henshall,

Bains, and Ding breached their fiduciary duties and otherwise abdicated their fiduciary duties of

loyalty and good faith owed to Premier Exhibitions, with breaches that include all or certain of the

following, but that may not necessarily be limited to: (i) post-DinoKing transaction, failing to fully

or adequately monitor and oversee Bao and Premier Exhibitions; (ii) post-DinoKing transaction,

failing to implement and follow adequate safeguards and controls necessary and appropriate for

Premier Exhibitions’ post-DinoKing transaction financial, operational, regulatory, accounting,

and/or business related affairs and functions; (iii) post-DinoKing transaction, acting or failing to

act, or otherwise allowing Bao to act or fail to act, in furtherance of the interests of insiders and/or

others, rather than in the best interests of the Debtors; (iv) post-DinoKing transaction, allowing or

otherwise failing to prevent the decrease of the Debtors’ enterprise value and liquidation value in


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furtherance of the interests of insiders and/or others, rather than in the best interests of the Debtors;

(v) post- DinoKing transaction, failing to properly monitor and oversee Bao and Premier

Exhibitions, and failing to implement or follow adequate safeguards and controls, to ensure

adequate capitalization of the Debtors, adequate consideration of options and alternatives to

effectuate same, and maximization of the Debtors’ enterprise value and liquidation value; (vi) post-

DinoKing transaction, failing to properly monitor and oversee Bao, and/or failing to implement

and follow adequate safeguards and controls, to prevent Bao from secretly participating in, and

engaging in conduct which was designed to, and did, reduce the purchase price of the sale of

Premier Exhibitions’ Business Assets in Premier Exhibitions’ bankruptcy case; and (vii) other

breaches that proximately caused damages as may be ascertained through discovery.

        78.     Evans, Dutchak, Tao, Henshall, Bains, and Ding knowingly breached their

oversight duties by utterly failing to implement any reporting or information system or controls or,

having implemented such a system or controls, consciously failed to monitor, oversee, or supervise

the Debtors’ operations and the activities of Bao, thereby disabling themselves from being

informed of risks or problems requiring their attention and, in so doing, they knew that they were

not discharging their fiduciary obligations. Moreover, as a result of their inaction, Evans, Dutchak,

Tao, Henshall, Bains, and Ding failed to act in the face of known duties to act, thereby

demonstrating a conscious disregard for their responsibilities and the best interests of Premier

Exhibitions, and as a result breaching their duty of loyalty by failing to discharge such fiduciary

obligations in good faith and/or due care.

        79.     Each of the above breaches adversely impacted and conferred no benefit to Premier

Exhibitions, and as a direct and proximate result of same, caused damage to Premier Exhibitions

consisting of, inter alia: (i) the decrease in Debtors’ enterprise value subsequent to November 2,


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2015; (ii) the decrease in Debtors’ liquidation value subsequent to November 2, 2015; (iii) the

decrease in Debtors’ Business Assets value subsequent to November 2, 2015; (iv) the decrease in

Debtors’ market capitalization subsequent to November 2, 2015; (v) the decrease in Debtors’

shareholder value subsequent to November 2, 2015; (vi) the difference, at a minimum, between

the price PacBridge initially indicated it was willing to pay for the Business Assets (i.e., between

$50,000,000.00 and $65,000,000.00) and the price that Premier Holdings ultimately agreed to pay

for the Business Assets (i.e., $19,500,000.00); (vii) the loss and/or depletion of material assets of

the Debtors subsequent to November 2, 2015; (viii) the increase in the Debtors’ liabilities

subsequent to November 2, 2015; (ix) the Debtors’ deepening and/or increased insolvency

subsequent to November 2, 2015, as evidenced by, among other things, claims filed and pending

against the Debtors’ bankruptcy estates; (x) corporate waste subsequent to November 2, 2015; (xi)

the Debtors’ bankruptcy and associated administrative fees and expenses; (xii) the value of all

avoidable transfers subsequent to November 2, 2015 pursuant to Chapter 5 of the Bankruptcy Code

and/or under applicable state law, including all transfers to the Defendants and other insiders

subsequent to November 2, 2015; and (xiii) other damages as may be ascertained through pre- or

post-suit discovery, plus pre- judgment and post-judgment interest, and costs.

       80.      Evans, Dutchak, Tao, Henshall, Bains, and Ding are liable for these damages.

       WHEREFORE, the Plaintiff demands the entry of judgment against Evans, Dutchak, Tao,

Henshall, Bains, and Ding for compensatory damages, consequential damages, special damages

and punitive damages including, but not limited to: (i) the decrease in Debtors’ enterprise value

subsequent to November 2, 2015; (ii) the decrease in Debtors’ liquidation value subsequent to

November 2, 2015; (iii) the decrease in Debtors’ Business Assets value subsequent to November

2, 2015; (iv) the decrease in Debtors’ market capitalization subsequent to November 2, 2015; (v)


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the decrease in Debtors’ shareholder value subsequent to November 2, 2015; (vi) the difference,

at a minimum, between the price PacBridge initially indicated it was willing to pay for the Business

Assets (i.e., between $50,000,000.00 and $65,000,000.00) and the price that Premier Holdings

ultimately agreed to pay for the Business Assets (i.e., $19,500,000.00); (vii) the loss and/or

depletion of material assets of the Debtors subsequent to November 2, 2015; (viii) the increase in

the Debtors’ liabilities subsequent to November 2, 2015; (ix) the Debtors’ deepening and/or

increased insolvency subsequent to November 2, 2015, as evidenced by, among other things,

claims filed and pending against the Debtors’ bankruptcy estate; (x) corporate waste subsequent

to November 2, 2015; (xi) the Debtors’ bankruptcy and associated administrative fees and

expenses; (xii) the value of all avoidable transfers subsequent to November 2, 2015 pursuant to

Chapter 5 of the Bankruptcy Code and/or under applicable state law, including all transfers to the

Defendants and other insiders subsequent to November 2, 2015; and (xiii) other damages as may

be ascertained through pre- or post-suit discovery, plus pre-judgment and post-judgment interest,

attorneys’ fees, and costs.

                                          COUNT III
                                    OBJECTION TO CLAIMS
                                   AGAINST ALL DEFENDANTS

       81.      The Plaintiff sues the Defendants and alleges:

       82.      The Plaintiff re-alleges paragraphs 1 through 78 above.

       83.      This is an action objecting to the filed proofs of claim of, and any claims that have

been or may be asserted by, the Defendants (collectively, the “Claims”).

       84.      The Plaintiff objects to the allowance and payment of the Claims and any other

claim the Defendants may attempt to assert against the Debtors’ estates pursuant to Section

502(b)(1) of the Bankruptcy Code on the bases that: (i) the Defendants do not have any viable


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claims against the Debtors’ bankruptcy estate; (ii) such Claims are limited or barred under

applicable state or federal law; and/or (iii) such Claims are barred in whole or in part by the

doctrines of setoff and recoupment in light of the conduct by the Defendants described herein.

                WHEREFORE, the Plaintiff demands judgment against the Defendants: (i)

disallowing the Claims and any other claim the Defendants may attempt to assert against the estates

in whole or in part; and (ii) for such other and further relief as the Court deems appropriate.

                                          COUNT IV
                                  EQUITABLE SUBORDINATION
                                   AGAINST ALL DEFENDANTS

       85.      The Plaintiff sues the Defendants and alleges:

       86.      The Plaintiff re-alleges paragraphs 1 through 78 above.

       87.      This is an action seeking equitable subordination, pursuant to 11 U.S.C. § 510(c),

of any and all Claims by Defendants against the Debtors’ estates to the extent such Claims are not

disallowed in full.

       88.      As a direct and proximate result of the Defendants’ acts and omissions described

herein, the Debtors, their creditors, and their shareholders sustained damages that include, but that

are not necessarily limited to: (i) the decrease in Debtors’ enterprise value subsequent to November

2, 2015; (ii) the decrease in Debtors’ liquidation value subsequent to November 2, 2015; (iii) the

decrease in Debtors’ Business Assets value subsequent to November 2, 2015; (iv) the decrease in

Debtors’ market capitalization subsequent to November 2, 2015; (v) the decrease in Debtors’

shareholder value subsequent to November 2, 2015; (vi) the difference, at aa minimum, between

the price PacBridge initially indicated it was willing to pay for the Business Assets (i.e.,

between $50,000,000.00 and $65,000,000.00) and the price that Premier Holdings ultimately

agreed to pay for the Business Assets (i.e., $19,500,000.00); (vii) the loss and/or depletion of

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material assets of the Debtors subsequent to November 2, 2015; (viii) the increase in the Debtors’

liabilities subsequent to November 2, 2015; (ix) the Debtors’ deepening and/or increased

insolvency subsequent to November 2, 2015, as evidenced by, among other things, claims filed

and pending against the Debtors’ bankruptcy estates; (x) corporate waste subsequent to November

2, 2015; (xi) the Debtors’ bankruptcy and associated administrative fees and expenses; (xii) the

value of all avoidable transfers subsequent to November 2, 2015 pursuant to Chapter 5 of the

Bankruptcy Code and/or under applicable state law, including all transfers to the Defendants and

other insiders subsequent to November 2, 2015; and (xiii) other damages as may be ascertained

through pre- or post-suit discovery, plus pre- judgment and post-judgment interest, and costs.

        89.     Therefore, any and all Claims the Defendants have asserted or could assert against

the bankruptcy estates of Premier or any of its subsidiaries should be equitably subordinated.

        90.     Equitable subordination would not be inconsistent with the provisions of the

Bankruptcy Code.

        WHEREFORE, the Plaintiff demands entry of judgment against the Defendants: (i)

disallowing the Claims in whole or in part; and/or (ii) equitably subordinating the Claims to the

claims of all other creditors and shareholders in this case; and (iii) granting any and all other relief

the Court deems appropriate.

                              DEMAND FOR JURY TRIAL AND
                            NON-CONSENT TO A JURY TRIAL BY
                           AND BEFORE THE BANKRUPTCY COURT

        91.     The Plaintiff hereby: (i) demands a trial by jury on all claims and issues triable by

such; and (ii) requests in regard to such demand that the reference to the Bankruptcy Court not be

withdrawn, if at all, unless and until all discovery and all pre-trial motions and matters, including




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case dispositive motions, are disposed of and otherwise adjudicated by the Bankruptcy Court. The

Plaintiff specifically does not consent to a jury trial by and before the Bankruptcy Court.


Respectfully submitted this 20th day of April, 2020.

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